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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

BENVINDO RODRIGUES, ANDRE PINTO,
MARCOS DASILVA, GIVANILDO SOUSA,
OLAVO PEREIRA-MARTINS, and
DANIELSON MARTINS-RODRIGUE,
Individually and on Behalf of All Similarly-
Situated Employees,
              Plaintiffs,

v.                                                                   C.A. NO. ________

WCP CONSTRUCTION, CORP.; RONDON
SIDING CORP.; EXCEL GROUP CORP;
NATIONAL LUMBER COMPANY;
RELIABLE TRUSS AND COMPONENTS,
INC.; WEDER PEREIRA; CRISTINA
PEREIRA; WAGNER SOUZA; JOEL DA
COSTA; MANUEL PINA; and STEVEN
KAITZ,
          Defendants.

        INDIVIDUAL, CLASS, AND COLLECTIVE ACTION COMPLAINT
                     AND DEMAND FOR JURY TRIAL

       Plaintiffs Benvindo Rodrigues, Andre Pinto, Marcos Dasilva, Givanildo Sousa,

Olavo Pereira-Martins, and Danielson Martins-Rodrigue (together, the “Named Plaintiffs”),

individually and on behalf of all similarly-situated employees, by and through their counsel

of Muller Law LLC, do hereby state and allege as follows:

                                    INTRODUCTION

       1.       This is an action seeking payment of overtime premiums and other damages due

to the Named Plaintiffs and other similarly-situated hourly-payed workers (together, “Plaintiffs”)

under federal and state law. Defendants exploited these workers, all or most of whom were

immigrants with little knowledge of their rights. Defendants willfully failed to pay Plaintiffs
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premium wages for overtime work, timely wages, wages for all hours worked, and paid sick

leave. In addition, this action seeks payment for damages resulting from Defendants’ wrongful

termination of certain Plaintiffs in retaliation for the wage complaint filed by Rodrigues with the

Massachusetts Attorney General’s office (the “AG”) on behalf of himself and similarly-situated

coworkers (the “AG Complaint”).

        2.       One group of Plaintiffs (“NL Plaintiffs”), including the Named Plaintiffs, worked

for all Defendants at National Lumber Company’s lumber yard located at 200 Welby Road, New

Bedford, Massachusetts (“New Bedford Lumber Yard”) building wall panels. A second, larger

group of Plaintiffs (“Jobsite Plaintiffs”), including the Named Plaintiffs, worked for Defendants

WCP Construction, Corp., Rondon Siding Corp., Excel Group Corp., Weder and Cristina

Pereira, Wagner Sousa, and Joel Dacosta (together, “Pereira-Entity Defendants”) at jobsites

throughout Massachusetts as well as in some neighboring states. Both sets of Plaintiffs suffered

similar injustices.

                                  JURISDICTION AND VENUE

        3.       Subject matter jurisdiction over this action is conferred on this court under the

provisions of 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

        4.       This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. § 1367(a), as such claims form part of the same case or controversy and arise out of

a common nucleus of operative facts as the Fair Labor Standards Act (“FLSA”) claims alleged in

this Complaint.

        5.       Venue in this district is appropriate pursuant to 28 U.S.C. § 1391 because the

events or omissions giving rise to the claims herein occurred in this district, primarily at the

National Lumber Company lumber yard facility in New Bedford, Massachusetts.


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                                      THE PARTIES

       6.       Plaintiff Benvindo Rodrigues is a resident of New Bedford, Massachusetts.

       7.       Plaintiff Andre Pinto is a resident of New Bedford, Massachusetts.

       8.       Plaintiff Marcos Dasilva is a resident of New Bedford, Massachusetts.

       9.       Plaintiff Givanildo Sousa is a resident of New Bedford, Massachusetts.

       10.      Plaintiff Olavo Pereira-Martins is a resident of New Bedford, Massachusetts.

       11.      Plaintiff Danielson Martins-Rodrigue is a resident of New Bedford,

Massachusetts.

       12.      Defendant WCP Construction Corp. (“WCP”) is a Massachusetts corporation,

with its primary headquarters in Malden, Massachusetts.

       13.      Defendant Rondon Siding Corp. (“Rondon Siding”) is a Massachusetts

corporation, with its primary headquarters in Malden, Massachusetts.

       14.      Defendant Excel Group Corp. (“Excel”) is a Massachusetts corporation, with its

primary headquarters in Norton, Massachusetts.

       15.      Defendant National Lumber Company is a Massachusetts corporation, with its

primary headquarters in Malden, Massachusetts.

       16.      Defendant Reliable Truss and Components, Inc. (“Reliable Truss”), is a

Massachusetts corporation, with its primary headquarters in Malden, Massachusetts. Reliable

Truss is a wholly-owned subsidiary of National Lumber Company (together with Reliable Truss,

“National Lumber”). The National Lumber website describes Reliable Truss as a “Division” of

National Lumber Company and “Part of the National Lumber Family of Companies,” and all of

the officers and directors of Reliable Truss are also officers and directors of National Lumber

Company.


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       17.     Defendant Weder C. Pereira is the Treasurer and Director of Excel and a is a

resident of Norton, Massachusetts.

       18.     Defendant Cristina Pereira is the President of Excel and is a resident of Norton,

Massachusetts.

       19.     Defendant Wagner Souza is the President, Treasurer, and Director of WCP and a

resident of Massachusetts.

       20.     Defendant Joel Dacosta is the President, Treasurer, and Director of Rondon

Siding and a resident of Massachusetts.

       21.     Defendant Manuel Pina is the President of National Lumber Company and the

President and Treasurer of Reliable Truss, and a resident of Massachusetts.

       22.     Defendant Steven Kaitz is the Treasurer, Secretary, Chief Executive Officer, and

Director of National Lumber Company; Secretary, Chief Executive Officer, and Director of

Reliable Truss; and a resident of Massachusetts. Kaitz is also an owner of National Lumber

Company and, as reported on the National Lumber Company website, is “involved in all aspects

of daily activities” of the company.

       23.     Each Plaintiff was employed by Defendants in Massachusetts within the

applicable statute of limitations period and is entitled to the rights, protection and benefits

provided under the FLSA and Massachusetts law.

                                   FACTUAL ALLEGATIONS

A.     Pereira-Entity Defendants

       24.     On information and belief, during the relevant time period, Weder and Cristina

Pereira owned or otherwise controlled WCP, Rondon Siding, and Excel.




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        25.     On information and belief, during the relevant time period, Weder Pereira made

or influenced key decisions regarding the business dealings of WCP, Rondon Siding, and Excel,

including decisions regarding financial and payroll matters.

        26.     On information and belief, during the relevant time period, Cristina Pereira kept

the books for WCP, Rondon Siding, and/or Excel, including keeping records tracking financial

and payroll matters.

        27.     During the relevant time period, the Pereira-Entity Defendants employed workers

to work on various construction jobsites, in Massachusetts (primarily) and in neighboring states.

        28.     During the relevant time period, Weder and Cristina Pereira treated WCP,

Rondon Siding, and Excel interchangeably with respect to employing and paying the Plaintiffs.

For example, Jobsite Plaintiffs would be sent on projects as employees of WCP certain weeks

and Excel other weeks, without any explanation to, or action by, Plaintiffs. Further, regardless of

whether Plaintiffs were allegedly working for WCP or Excel, paychecks would variously come

from WCP, Rondon Siding, or Excel without any pattern or explanation.

        29.     During the relevant time period, Wagner Sousa approved and signed paychecks

paid by WCP to Plaintiffs and Joel Dacosta approved and signed paychecks paid by Rondon

Siding to Plaintiffs.

B.      National Lumber Arranged With the Pereira-Entity Defendants to Employ
        Workers at New Bedford Lumber Yard

        30.     During the relevant time period, National Lumber, through its wholly-owned

subsidiary, Reliable Truss, operated a business designing and manufacturing wood roof trusses,

wall panels, timber trusses, and floor panels (“Truss and Panel Manufacturing Business”).

        31.     During the relevant time period, National Lumber operated its Truss and Panel

Manufacturing Business at the New Bedford Lumber Yard.

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       32.     On information and belief, during the relevant time period, Manuel Pina

controlled significant aspects of the day-to-day operations of the Truss and Panel Manufacturing

Business. As stated in a magazine article linked to the National Lumber website referring to the

Truss and Penal Manufacturing Business, “Pina is the company’s president and has led the way

for co-CEOs and sibling owners, Steven Kaitz and Margie Kaitz Seligman, to expand locations

and launch a number of profit centers including a turn-key division which provides framing

materials and labor for major building projects throughout the eastern U.S. Pina convinced the

Kaitz family to begin engineering and designing truss and I-joist systems. In-house, he hired

structural engineers, architects, expert builders and framing professionals.”

       33.     On information and belief, in or about 2014, Manuel Pina, directly or indirectly,

informed Weder Pereira that National Lumber needed workers at the New Bedford Lumber Yard

to build wall panels.

       34.     At this time, the Pereira-Entity Defendants employed many workers, including

some of the Named Plaintiffs and other Plaintiffs, to work at various construction jobsites in

Massachusetts and neighboring states.

       35.     On information and belief, Weder Pereira and the Pereira-Entity Defendants

directly or indirectly arranged with Manuel Pina and National Lumber for the Named Plaintiffs

and other Plaintiffs to work at the New Bedford Lumber Yard, and for National Lumber to pay

for the workers by paying one or more of the Pereira-Entity Defendants in connection therewith.

The Pereira-Entity Defendants continued the arrangement with National Lumber for over three

years, until, on information and belief, at least January 5, 2018. Many of the NL Plaintiffs

worked primarily or exclusively at the New Bedford Lumber Yard during a substantial portion of

this time frame. During this time frame, the Pereira-Entity Defendants sent employees from


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other jobsites and hired new employees to work at the New Bedford Lumber Yard. All of the

employees the Pereira-Entity Defendants directed to work at the New Bedford Lumber Yard

were immigrants.

C.     National Lumber Controlled the Work of NL Plaintiffs Working at New Bedford
       Lumber Yard

       36.    In arranging for the NL Plaintiffs to work at the New Bedford Lumber Yard,

Weder Pereira and the Pereira-Entity Defendants generally instructed the NL Plaintiffs, including

the Named Plaintiffs, to report to the New Bedford Lumber Yard for work at 6 a.m. on their first

day. The Pereira-Entity Defendants did not provide tools with which they were to perform the

work or instructions regarding the work the employees were to perform.

       37.    At the New Bedford Lumber Yard, the NL Plaintiffs, including the Named

Plaintiffs, reported to one of the National Lumber supervisors (the “NL Supervisors”). The NL

Supervisors in charge of wall panel construction were David Lopes, until approximately mid-

September 2015, and Victor Botelho, thereafter. At various times, NL Supervisors Sean

O’Connell and Timothy Silva also supervised the employees.

       38.    Manuel Pina also periodically spent time at the New Bedford Lumber Yard,

observing and inspecting the work being done by employees, including the NL Plaintiffs.

       39.    The NL Supervisors generally directed the NL Plaintiffs to work at large tables,

usually in groups of three to six men. The number of tables varied depending on the number of

NL Plaintiffs working and the number of projects being worked on. The NL Supervisors

determined the group each NL Plaintiff worked with.

       40.    The NL Supervisors provided the initial instructions to new NL Plaintiffs.

       41.    The NL Supervisors also determined what projects the NL Plaintiffs would work

on. The NL Supervisors provided the plans describing the dimensions of the finished product

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being built. The NL Supervisors instructed the NL Plaintiffs where in the warehouse or yard to

obtain the necessary raw materials.

        42.       National Lumber provided all of the tools and raw materials the NL Plaintiffs

used to build the wall panels. On information and belief, some or all of the tools and raw

materials, and some of the finished wall panels, were shipped across state lines.

        43.       The NL Supervisors also determined the starting times, meal break, and ending

times worked by the NL Plaintiffs. The NL Supervisors instructed the NL Plaintiffs when to

arrive for work, which generally was 6 a.m., and when and for how long to take an unpaid meal

break, which was generally 30 minutes around noon. The NL Supervisors dictated when the NL

Plaintiffs left for the day, which was generally dependent on factors including the number of NL

Plaintiffs working, the number and size of the panels being worked on, and the deadline by

which National Lumber needed the panels to be completed.

        44.       The NL Supervisors determined the number of days worked each week by the NL

Plaintiffs, which was generally five or six, although it could be fewer during a holiday week or

during a particularly slow period.

        45.       By determining the hours each day and the number of days worked by the NL

Plaintiffs each week, the NL Supervisors controlled the total amount of time worked by the NL

Plaintiffs.

        46.       The NL Supervisors also tracked and maintained records of the time the NL

Plaintiffs worked. NL Supervisor David Lopes tracked the hours worked by the NL Plaintiffs

from the start of the NL Plaintiffs’ work at the New Bedford Lumber Yard, in or around summer

2014, through approximately the first week in September, 2015, when he stopped supervising the

NL Plaintiffs. During the latter half of this time, from approximately February, 2015, until


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approximately September, 2015, NL Supervisor Lopes prepared and signed weekly timesheet

invoices listing the approximate start and end time of each NL Plaintiff each day, rounded to the

half hour. The invoices also set forth each NL Plaintiff’s total weekly hours, which Mr. Lopes

calculated by adding the total hours each day and subtracting a half hour each day for meal time.

       47.     Starting in or around the second week in September 2015, NL Plaintiffs started

using a National Lumber punch-clock at the New Bedford Lumber Yard, punching in and out to

indicate when they arrived at work, went to a meal break, returned from a meal break, and left

for the day.

       48.     NL Supervisor Victor Botelho reviewed the punch cards each week. The NL

Supervisor made hand-written adjustments he determined were necessary, such as to correct a

card when a NL Plaintiff forgot to punch in or out at the start or end of the day or for meal time

or to add or subtract hours for other reasons. The NL Supervisor tallied the hours and indicated

the total hours worked by the NL Plaintiff that week.

       49.     Starting in or about the second week of September, 2015, NL Supervisor Sean

O’Connell prepared and signed the weekly timesheet invoices, setting forth the total hours

worked by each NL Plaintiff working that week based on the punch-cards, as adjusted by NL

Supervisor Botelho.

       50.     Starting in or about February, 2015, National Lumber conveyed the hours worked

by the NL Plaintiffs to the Pereira-Entity Defendants via the timesheet invoices.

       51.     The Pereira-Entity Defendants used the timesheets prepared by the NL

Supervisors to determine the time worked by, and the wages owed to, the NL Plaintiffs.

       52.     In addition to the controlling the hours the NL Plaintiffs worked and the particular

projects they worked on, National Lumber and the NL Supervisors also controlled the conditions


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under which the NL Plaintiffs worked. For example, National Lumber and the NL Supervisors

determined the deadline under which the projects had to be completed and the speed at which the

NL Plaintiffs had to work. The NL Supervisors frequently observed the NL Plaintiffs while they

were working and pushed them to work faster, creating a high-stress environment and sometimes

leading to injuries.

        53.      The NL Supervisors and other National Lumber employees charged with quality

control at the New Bedford Lumber Yard inspected the NL Plaintiffs’ finished products prior to

the panels being loaded on trucks for shipping to jobsites to determine if the wall panels were

satisfactory or had to be redone.

        54.      The NL Supervisors frequently forced the NL Plaintiffs to lift heavy panels

manually, unassisted by tools or equipment, while simultaneously providing tools and equipment

to assist other non-immigrant National Lumber employees with similar tasks. The NL

Supervisors often forced the NL Plaintiffs to work outside in freezing cold temperature while

simultaneously allowing other non-immigrant employees to work inside.

        55.      National Lumber and the NL Supervisors supplied safety equipment to the NL

Plaintiffs, however, the equipment provided was often inadequate and unsafe.

        56.      On a few occasions, the NL Supervisors directed the NL Plaintiffs to work offsite

at construction job sites other than the New Bedford Lumber Yard where the wall panels were

being installed. On these occasions, the NL Plaintiffs went to the jobsites in National Lumber

trucks with National Lumber employees and supervisors.

        57.      The NL Supervisors also had the authority to, and did, discipline, hire, and fire

NL Plaintiffs.




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           58.   For example, the NL Supervisors would frequently chastise, belittle, and threaten

NL Plaintiffs with termination for working too slowly or making mistakes. The NL Supervisors

also threatened NL Plaintiffs with termination if they asked to leave due to illness or injury, and,

on one or more occasions, terminated an NL Plaintiff for staying home or leaving early due to

illness.

           59.   On occasion, the NL Supervisors asked current NL Plaintiffs to recruit new

workers and bring them to the New Bedford Lumber Yard. The NL Supervisor would then

determine whether to hire the recruit to join the group working to build the wall panels; if the

recruit was hired, the NL Supervisor included the recruit’s name and hours on the timesheet

invoice it provided to the Pereira-Entity Defendants.

           60.   The NL Supervisors determined which NL Plaintiffs to lay off when work

slowed, and the NL Supervisors decided whether and when to terminate a NL Plaintiff for any

reason the NL Supervisor so decided.

D.         Plaintiffs Regularly Worked Overtime Hours at the New Bedford Lumber Yard

           61.   During the relevant time period, the NL Supervisors required NL Plaintiffs to, and

NL Plaintiffs did, work more than 40 hours in one or more workweeks.

           62.   During the relevant time period, the NL Supervisors required many NL Plaintiffs,

including the Named Plaintiffs, to, and many NL Plaintiffs, including the Named Plaintiffs, did,

regularly work up to fifty or sixty hours a week.

           63.   During the relevant time period, NL Supervisors required some NL Plaintiffs,

including some of the Named Plaintiffs, to, and some NL Plaintiffs, including some of the

Named Plaintiffs, did sometimes work up to seventy or more hours a week.




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       64.     During the relevant time period, most of the overtime worked by NL Plaintiffs

was recorded on timesheets or punch-cards.

       65.     During the relevant time period, National Lumber and the Pereira-Entity

Defendants were aware that NL Plaintiffs frequently worked more than 40 hours a week at the

New Bedford Lumber Yard.

E.     Defendants Willfully Failed to Pay NL Plaintiffs Overtime Wages, Timely Wages,
       Wages for all Time Worked, and Earned Sick Time

       66.     During the relevant time period, Defendants followed a policy and practice of

paying NL Plaintiffs for their work at the New Bedford Lumber Yard via checks from WCP or

Rondon Siding and other entities.

       67.     During the relevant time period, Defendants followed a policy and practice of

refusing to provide NL Plaintiffs with pay slips or earnings statements with their paychecks

showing the name of the employer and employee, the day, month, year, number of hours worked,

hourly rate, and the amounts of deductions or increases made for the pay period.

       68.     During the relevant time period, Defendants followed a policy and practice of

paying NL Plaintiffs on a weekly basis, with the workweek ending on Saturday. However,

Defendants followed a policy and practice of regularly failing to pay NL Plaintiffs for their work

until approximately thirteen or fourteen days after the end of the workweek. Sometimes

National Lumber did not prepare the timesheet invoices until more than six days after the end of

the workweek. And, on numerous occasions, Defendants followed a practice of forcing NL

Plaintiffs to wait even longer to receive a paycheck for their work because Defendants either

provided no paycheck after two weeks or the paycheck that they provided bounced due to

insufficient funds. After a paycheck bounced, Defendants failed to provide replacement

paychecks to NL Plaintiffs for several more days or weeks, forcing the NL Plaintiffs to wait even

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longer for their wages.

       69.     On one or more occasions after their paychecks bounced, NL Plaintiffs, including

the Named Plaintiffs, complained to a NL Supervisor about not getting paid.

       70.     During the relevant time period, Defendants paid NL Plaintiffs on an hourly basis.

On information and belief, the hourly rates ranged from approximately $14 to $20 (“Straight-

Time Rate”).

       71.     During the relevant time period, Defendants followed a policy and practice of

paying NL Plaintiffs only their Straight-Time Rate for time they worked over 40 hours in a

workweek.

       72.     During the relevant time period, Defendants followed a policy and practice of not

paying NL Plaintiffs for any time they did not work.

       73.     On one or more occasions, some or all of the Named Plaintiffs and other NL

Plaintiffs, complained to an NL Supervisor that they were not getting paid any overtime

premiums.

       74.     On information and belief, Defendants followed a policy and practice of paying

NL Plaintiffs on a quarter-hour or half-hour basis. However, for purposes of calculating wages,

Defendants followed a policy and practice of rounding the time NL Plaintiffs worked down more

often and more significantly than they rounded up. Defendants followed a policy and practice of

frequently rounding down more than 8 minutes, sometimes significantly. The time NL Plaintiffs

worked without being paid often involved time worked over 40 hours in a workweek.

       75.     In addition, Plaintiff Pinto was also not paid for work he performed driving to and

from Weder Pereira’s house (the principal office of Excel) in Norton, Massachusetts to pick up

the NL Plaintiffs’ paychecks and deliver them to the New Bedford Lumber Yard almost every


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week. Such work typically added three hours, some or all of which involved overtime hours, to

Plaintiff Pinto’s workweek, but he was not compensated for this work at all.

        76.     Defendants followed a policy and practice of failing to pay NL Plaintiffs

voluntarily leaving their employment all wages due to them within six or seven days of their last

day of work and failing to pay terminated NL Plaintiffs all wages due to them on the day of

termination.

        77.     On information and belief, Defendants followed a policy and practice of failing to

ever pay many NL Plaintiffs wages due to them for their last week or two of work.

        78.     At no time after July 1, 2015 (or prior thereto) did Defendants notify NL Plaintiffs

that they had the right to earn and use paid sick leave; Defendants failed to give NL Plaintiffs a

copy of a notice of a policy regarding sick leave or to include a sick time policy in a handbook

manual provided to NL Plaintiffs.

        79.     During the relevant time period, including after July 1, 2015, Defendants followed

a policy and practice of refusing to allow NL Plaintiffs to earn and use paid sick leave.

        80.     NL Supervisors even threatened to terminate NL Plaintiffs who requested to leave

early due to illness or injury.

F.      Pereira-Entity Defendants Willfully Failed to Pay Jobsite Plaintiffs Overtime
        Wages, Timely Wages, Wages for all Time Worked, and Earned Sick Time

        81.     During the relevant time period, the Pereira-Entity Defendants sent Jobsite

Plaintiffs, including the Named Plaintiffs, to perform construction laborer and carpentry work at

jobsites, primarily in Massachusetts.

        82.     Pereira-Entity Defendants instructed the Jobsite Plaintiffs to work at the

construction jobsites for several weeks, months, or even years, depending on the size and needs

of the projects at the various jobsites.

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       83.     During the relevant time period, Pereira-Entity Defendants applied the same wage

policies and practices to all Plaintiffs, regardless of where they worked, and followed the same

wage policies and practices for the Jobsite Plaintiffs as they followed with the NL Plaintiffs.

       84.     During the relevant time period, Pereira-Entity Defendants followed a policy and

practice of requiring Jobsite Plaintiffs to work more than 40 hours in a workweek, and many

Jobsite Plaintiffs, including the Named Plaintiffs, worked up to fifty, sixty, and even seventy

hours in many workweeks.

       85.     During the relevant time period, Pereira-Entity Defendants followed a policy and

practice of paying Jobsite Plaintiffs on an hourly basis, but failing to pay Jobsite Plaintiffs

premium pay for any time they worked over 40 hours in a workweek.

       86.     During the relevant time period, Pereira-Entity Defendants followed a policy and

practice of failing to provide Jobsite Plaintiffs with any earnings statements or pay slips showing

the name of the employer and employee, the day, month, year, number of hours worked, hourly

rate, and the amounts of deductions or increases made for the pay period.

       87.     During the relevant time period, Pereira-Entity Defendants generally paid Jobsite

Plaintiffs on a weekly basis, with the week ending on Saturday.

       88.     During the relevant time period, Pereira-Entity Defendants followed a policy and

practice of consistently failing to pay Jobsite Plaintiffs within six or seven days after the end of

the workweek. Pereira-Entity Defendants followed a policy and practice of regularly failing to

pay Jobsite Plaintiffs for their work until approximately thirteen or fourteen days after the end of

the workweek in which they performed the work. Numerous times, Pereira-Entity Defendants

paid the Jobsite Plaintiffs with checks that bounced, forcing the Jobsite Plaintiffs to wait even

longer for their wages.


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       89.     On information and belief, Pereira-Entity Defendants followed a policy and

practice of paying NL Plaintiffs on a quarter-hour or half-hour basis. However, for purposes of

calculating wages, Pereira-Entity Defendants followed a policy and practice of rounding the time

Jobsite Plaintiffs worked down more often and in greater amounts than they rounded up.

Pereira-Entity Defendants followed a policy and practice of frequently rounding down more than

8 minutes, sometimes significantly. The time Jobsite Plaintiffs worked without pay often

involved time worked over 40 hours in a workweek.

       90.     Pereira-Entity Defendants followed a policy and practice of failing to pay Jobsite

Plaintiffs voluntarily leaving their employment all wages due to them within six or seven days of

their last day of work and failing to pay terminated Jobsite Plaintiffs all wages due to them on the

day of termination

       91.     On information and belief, Pereira-Entity Defendants also followed a policy and

practice of failing to pay many Jobsite Plaintiffs wages for their last one or two weeks of work.

       92.     At no time after July 1, 2015, (or prior thereto) did Pereira-Entity Defendants

notify Jobsite Plaintiffs that they had the right to earn and use paid sick leave; Pereira-Entity

Defendants failed to give Jobsite Plaintiffs a copy of a notice of a policy regarding sick leave or

to include a sick time policy in a handbook manual provided to Jobsite Plaintiffs.

       93.     During the relevant time period, including after July 1, 2015, Pereira-Entity

Defendants followed a policy and practice of refusing to allow Jobsite Plaintiffs to earn and use

paid sick leave.

G.     Wage Complaints Filed with Massachusetts Attorney General

       94.     On or about March 9, 2017, Plaintiff Rodrigues filed the AG Complaint with the

AG on behalf of himself and similarly-situated employees complaining about the unlawful wage


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practices of Weder Pereira, WCP, Rondon Siding, and National Lumber, including failure to pay

overtime premiums, nonpayment of wages for all hours worked, late payments, and cash

payments/failure to withhold taxes.

H.     Retaliation for Complaining about Unlawful Wage Practices and New Wage
       Complaints Filed with AG

       95.     After the AG Complaint was filed, the AG began an investigation of the wage

practices of the Pereira-Entity Defendants and National Lumber in connection with the work of

the NL Plaintiffs and the Jobsite Plaintiffs.

       96.     On information and belief, representatives from the AG’s office held a meeting

with certain Defendants and their attorneys (the “AG Meeting”).

       97.     Soon after the AG Meeting, National Lumber began terminating NL Plaintiffs that

were still working at the New Bedford Lumber Yard.

       98.     An NL Supervisor complained to Plaintiff Pinto about Plaintiff Rodrigues filing

the AG Complaint and stated something to the effect that many people were losing their jobs all

because one person had to go and complain.

       99.     Defendant Weder Pereira made similar allegations to Plaintiff Pinto, complaining

about Plaintiff Rodrigues and the problems he had caused by filing the AG Complaint.

       100.    Within a short timeframe after the AG Meeting, National Lumber terminated all

NL Plaintiffs, including the Named Plaintiffs.

       101.    On information and belief, the terminations did not follow any slowdown in the

amount of work available for NL Plaintiffs at the New Bedford Lumber Yard.

       102.    On information and belief, National Lumber continued to hire and employ other

employees to replace NL Plaintiffs to construct wall panels after it terminated all NL Plaintiffs.




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       103.    NL Plaintiffs terminated after the AG Meeting were performing their work

adequately at the time of their terminations.

I.     Additional Complaints Filed with Massachusetts Attorney General

       104.    In early 2018, Plaintiff Pinto filed a Complaint with the AG on behalf of himself

and similarly-situated employees in 2018 regarding the unlawful wage practices of Weder

Pereira and WCP and National Lumber.

       105.    On March 1, 2019, Plaintiffs Rodrigues and Pinto filed new Complaints with the

AG, on behalf of themselves and similarly-situated employees, against all Defendants, for

violations of the Massachusetts Paid Sick Leave Law and for unlawful termination in retaliation

for the earlier filing of a wage complaint with the AG’s office.

J.     Request Right to Sue Letter

       106.    More than 90 days have passed since Plaintiff Rodrigues filed the AG Complaint.

       107.    The AG investigated the matter but did not reach a final resolution of the matter.

       108.    On February 28, 2019, the AG issued Plaintiff Rodrigues a Right to Sue Letter

with respect to the AG Complaint.

       109.    On March 5, 2019, the AG issued Plaintiffs Rodrigues and Pinto Right to Sue

Letters with respect to the complaints they filed on March 1, 2019.

K.     Plaintiffs Not Paid To Date

       110.    To date, Defendants have still not paid Plaintiffs Overtime Premium Pay for time

worked over 40 hours in a workweek, wages for all time worked, or earned sick time.




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                    CLASS ACTION REPRESENTATION ALLEGATIONS

A.     Plaintiffs Working for National Lumber at the New Bedford Lumber Yard

       111.      Named Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins, and Martins-

Rodrigue (“NL Class Representative Plaintiffs”) bring this Class Action claim pursuant to Fed.

R. Civ. P. 23 and M.G.L. c. 149 & 151 on behalf of themselves and all similarly-situated

employees who worked for Defendants at the New Bedford Lumber Yard as hourly paid

employees building wall panels anytime from March 14, 2014 (three years, less five days, prior

to the date the AG Complaint was filed) through the present (the “NL Class Plaintiffs”). The NL

Class Plaintiffs were not paid all overtime and other wages due under Massachusetts state law

for their work because they worked more than 40 hours in one or more workweeks without

receiving overtime premium pay, were paid weekly wages and/or final wages later than required

by M.G.L. c. 149, § 148, were not paid all wages due as a result of improper rounding and/or

Defendants’ failure to pay wages due for their final week(s) of work, and/or were not provided

the opportunity to accrue and use earned paid sick time after July 1, 2015.

       112.      The group of NL Class Plaintiffs identified herein, which, on information and

belief, includes more than 40 individuals, is so numerous that joinder of all NL Class Plaintiffs is

impracticable.

       113.      There are common questions of law and fact related to NL Class Plaintiffs’

claims, including the policies and practices of paying NL Class Plaintiffs straight time for

overtime hours, making late wage payments, improperly rounding time worked for purposes of

calculating wages, and refusing to provide earned paid sick time. In addition, legal and factual

questions regarding finding that Defendants acted as a single enterprise and/or joint employers

are common to all NL Class Plaintiffs.


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          114.   The claims of the NL Representative Plaintiffs, including claims related to

overtime pay, late pay, non-payment of wages, and failure to provide earned paid sick time, are

typical of the claims of the NL Class Plaintiffs. Although the NL Class Plaintiffs had varying

hourly rates and worked different hours or weeks, they were all subjected to similar work

conditions and compensation policies, which are at the heart of this matter.

          115.   The NL Representative Plaintiffs will fairly and adequately represent and protect

the interests of the members of the class. Their claims for unpaid overtime and other unpaid

wages are typical of the claims held by the rest of the NL Class Plaintiffs, and they predominate

over any issues raised by any additional individual claims they have. They have no known

conflicts with any members of the NL Class Plaintiffs.

          116.   The NL Representative Plaintiffs have retained counsel competent and

experienced in complex class action and wage and hour litigation who will vigorously pursue

this action for the benefit of all NL Class Plaintiffs.

          117.   Class certification is appropriate because the questions of law and fact common to

the NL Class Plaintiffs predominate over any questions affecting only individual members, and a

class action is superior to other available methods for the fair and efficient adjudication of the

controversy.

          118.   The damages of many NL Class Plaintiffs may be so small as to make the expense

and burden of individual litigation impractical and redress of class members’ harm impossible.

          119.   This Court will have no difficulty managing this as a class action.

          120.   The NL Representative Plaintiffs are aware of no difficulty that will be

encountered in the management of this litigation that would preclude its approval as a class

action.


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B.     Plaintiffs Working for Pereira-Entity Defendants at Any Jobsite

       121.    Named Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins, and Martins-

Rodrigue, (“Jobsite Class Representative Plaintiffs”), bring this Class Action claim pursuant to

Fed. R. Civ. P. 23 and G.L. c. 149 & 151 on behalf of themselves and all similarly-situated

employees who worked for the Pereira-Entity Defendants any jobsite as hourly-paid construction

employees anytime from March 14, 2014 (three years, less five days, prior to the date the AG

Complaint was filed) through the present (the “Jobsite Class Plaintiffs”). The Jobsite Class

Plaintiffs were not paid all overtime and other wages due under Massachusetts state law for their

work because they worked more than 40 hours in one or more workweeks without receiving

overtime pay, were paid weekly wages and/or final wages later than required by M.G.L. c. 149,

§ 148, were not paid all wages due to improper rounding and/or Defendants’ failure to pay for

their final week(s) of work, and/or were not provided the opportunity to accrue and use earned

paid sick time after July 1, 2015.

       122.    The group of Jobsite Class Plaintiffs identified herein, which, on information and

belief, includes more than 40 individuals, is so numerous that joinder of all Jobsite Class

Plaintiffs is impracticable.

       123.    There are common questions of law and fact related to Jobsite Class Plaintiffs’

claims, including the policies and practices of paying all Jobsite Class Plaintiffs straight time for

overtime hours, making late wage payments, failing to pay all wages due, and refusing to provide

earned paid sick time.

       124.    The claims of the Jobsite Representative Plaintiffs, including claims related to

overtime pay, late pay, non-payment of wages, and failure to provide earned paid sick time, are

typical of the claims of the Jobsite Class Plaintiffs. Although the Jobsite Class Plaintiffs had


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varying hourly rates and worked different hours or weeks, they were all subjected to similar

compensation policies, which are at the heart of this matter.

          125.   The Jobsite Representative Plaintiffs will fairly and adequately represent and

protect the interests of the members of the class. Their claims for unpaid overtime and other

unpaid wages are typical of the claims held by the rest of the Jobsite Class Plaintiffs, and the

claims consistent with the Jobsite Class Plaintiffs predominate over any issues raised by

individual claims, if any, they have. They have no known conflicts with any members of the

Jobsite Class Plaintiffs.

          126.   The Jobsite Representative Plaintiffs have retained counsel competent and

experienced in complex class action and wage and hour litigation who will vigorously pursue

this action for the benefit of all Jobsite Class Plaintiffs.

          127.   Class certification is appropriate because the questions of law and fact common to

the Jobsite Class Members predominate over any questions affecting only individual members,

and a class action is superior to other available methods for the fair and efficient adjudication of

the controversy.

          128.   The damages of many Jobsite Class Plaintiffs may be so small as to make the

expense and burden of individual litigation impractical and redress of class members’ harm

impossible.

          129.   This Court will have no difficulty managing this as a class action.

          130.   The Jobsite Representative Plaintiffs are aware of no difficulty that will be

encountered in the management of this litigation that would preclude its approval as a class

action.




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              COLLECTIVE ACTION REPRESENTATION ALLEGATIONS

       131.    Named Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins, and Martins-

Rodrigue (“NL Collective Representative Plaintiffs”), bring this Collective Action claim

pursuant to the FLSA, 29 U.S.C. § 216(b), on behalf of themselves and all similarly-situated

employees who worked for the Defendants at the New Bedford Lumber Yard as hourly-paid

employees building wall panels anytime during the period starting three years prior to the filing

of this Complaint through the present (the “NL Collective Plaintiffs”). The NL Collective

Plaintiffs were not paid all overtime and/or minimum wages due under the FLSA for their work

because they worked more than 40 hours in one or more workweeks without receiving overtime

premium pay for all time worked over 40 hours and/or did not receive at least minimum wages

for their work because they were not paid within a reasonable time after the end of the workweek

in which they earned such wages.

       132.    Named Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins, and Martins-

Rodrigue (“Jobsite Collective Representative Plaintiffs”), bring this Collective Action claim

pursuant to the FLSA, 29 U.S.C. § 216(b), on behalf of themselves and all similarly-situated

employees who worked for the Pereira-Entity Defendants at any jobsite as hourly-paid

construction employees during the period starting three years prior to the filing of this Complaint

through the present (the “Jobsite Collective Plaintiffs”). The Jobsite Collective Plaintiffs were

not paid all overtime and/or minimum wages due under the FLSA for their work because they

worked more than 40 hours in one or more workweeks without receiving overtime premium pay

for all time worked over 40 hours and/or they did not receive at least minimum wages for their

work because they did not receive wages within a reasonable time after the end of the workweek

in which they earned such wages.


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                                     CLAIMS FOR RELIEF

                                           COUNT I
                              FAILURE TO PAY OVERTIME
                 FAIR LABOR STANDARDS ACT, 29 U.S.C § 201 et seq.
          (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
            and Martins-Rodrigue and Similarly-Situated NL Collective Plaintiffs)
                                    (Against All Defendants)

        133.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.

        134.    This claim is brought on behalf of the NL Collective Plaintiffs, including the NL

Collective Representative Plaintiffs.

        135.    This claim is brought against all Defendants.

        136.    On information and belief, during the relevant period of time, each of WCP,

Rondon Siding, Excel, National Lumber Company, and Reliable Truss, either individually or

acting in concert, was an enterprise engaged in commerce or in the production of goods for

commerce, as defined by 29 U.S.C. § 201 et seq.

        137.    During the relevant time period, each NL Collective Plaintiff was engaged in

commerce or in the production of goods for commerce, as defined by 29 U.S.C. § 201 et seq.

        138.    During the relevant time period, Defendants constituted a single enterprise and/or

joint employers of the NL Collective Plaintiffs within the meaning of 29 U.S.C. § 201 et seq.

        139.    During the relevant time period, each Defendant suffered or permitted NL

Collective Plaintiffs to work at the New Bedford Lumber Yard.

        140.    During the relevant time period, each Defendant acted directly or indirectly in the

interest of the NL Collective Plaintiffs’ employer or employers under the FLSA and were the NL

Collective Plaintiffs’ employer, as defined by 29 U.S.C. § 201 et seq.


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        141.    Pursuant to the FLSA, 29 U.S.C. § 207(a), Defendants were required to pay NL

Collective Plaintiffs one and a half times the regular rate at which they were employed for all

time they worked over 40 hours in a workweek (“Overtime Premium Pay”).

        142.    During the relevant time period, Defendants regularly followed a policy and

practice of refusing to pay NL Collective Plaintiffs Overtime Premium Pay.

        143.    Defendants’ failure to pay NL Collective Plaintiffs Overtime Premium Pay

violates the FLSA.

        144.    Defendants acted willfully or with reckless disregard as to their obligation to pay

NL Collective Plaintiffs Overtime Premium Pay, and accordingly, the violation was willful for

purposes of the FLSA, 29 U.S.C. §§ 255(a) and 260.

        145.    Defendants are jointly and severally liable to NL Collective Plaintiffs under the

FLSA for their failure to pay Overtime Premium Pay to NL Collective Plaintiffs in an amount

equal to such unpaid Overtime Premium Pay.

        146.    Defendants are also jointly and severally liable to NL Collective Plaintiffs for

liquidated damages on unpaid Overtime Premium Pay, as well as attorneys’ fees, costs, interest,

and all other relief deemed just and proper.

                                          COUNT II
                           FAILURE TO PAY MINIMUM WAGE
                 FAIR LABOR STANDARDS ACT, 29 U.S.C § 201 et seq.
          (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
            and Martins-Rodrigue and Similarly-Situated NL Collective Plaintiffs)
                                    (Against All Defendants)

        147.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.




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       148.     This claim is brought on behalf of NL Collective Plaintiffs, including the NL

Collective Representative Plaintiffs.

       149.     This claim is brought against all Defendants.

       150.     Under Massachusetts law, M.G.L. c. 148 § 149, employers are required to pay

hourly-paid workers who work five to six days a week within six days after the termination of

the pay period in which the wages were earned and to pay hourly-paid workers who work fewer

than five days a week within seven days after the termination of the pay period.

       151.     Pursuant to the FLSA, Defendants were required to pay NL Collective Plaintiffs

at least the minimum wage required by the FLSA (the “Federal Minimum Wage”) for all time

that they worked for Defendants each workweek.

       152.     Defendants were required to pay NL Collective Plaintiffs at least the Federal

Minimum Wage for all time that they worked for Defendants in a timely manner; the failure to

do so in any week amounted to a non-payment of such wages for that week.

       153.     During the relevant time period, Defendants regularly paid NL Collective

Plaintiffs more than six or seven days after the termination of the pay period within which they

earned wages.

       154.     During the relevant time period, on information and belief, Defendants frequently

paid NL Collective Plaintiffs thirteen or fourteen days after the end of the pay period within

which they earned wages.

       155.     During the relevant time period, Defendants sometimes paid NL Collective

Plaintiffs more than two weeks after the end of the pay period within which they earned wages.




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        156.    Defendants willfully and repeatedly violated the provisions of the FLSA by

failing to timely pay the NL Collective Plaintiffs at least the Federal Minimum Wage for all time

they worked for Defendants each workweek.

        157.    Defendants are jointly and severally liable to NL Collective Plaintiffs under the

FLSA for their failure to timely pay at least Federal Minimum Wage for all time that NL

Collective Plaintiffs worked.

        158.    Defendants are also jointly and severally liable to NL Collective Plaintiffs for

liquidated damages on the payments that Defendants failed to pay in a timely manner, as well as

attorneys’ fees, costs, interest, and all other relief deemed just and proper.

                                          COUNT III
                              FAILURE TO PAY OVERTIME
                                         M.G.L. c. 151
          (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
             and Martins-Rodrigue and Similarly-Situated NL Class Plaintiffs)
                                    (Against All Defendants)

        159.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.

        160.    This claim is brought on behalf of the NL Class Plaintiffs, including the NL Class

Representative Plaintiffs.

        161.    This claim is brought against all Defendants.

        162.    During the relevant time period, Defendants were “employers” of NL Class

Plaintiffs within the meaning of M.G.L. c. 151.

        163.    During the relevant time period, Defendants constituted a single employer and/or

joint employers of NL Class Plaintiffs within the meaning of M.G.L. c. 151.




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        164.    During the relevant time period, NL Class Plaintiffs were “employees” of

Defendants within the meaning of M.G.L. c. 151.

        165.    During time relevant hereto, Defendants employed NL Class Plaintiffs within the

meaning of M.G.L. c. 151.

        166.    Under M.G.L. c. 151, § 1A, Defendants were required to pay NL Class Plaintiffs

Overtime Premium Pay for all time worked over 40 hours in a workweek.

        167.    While employed by Defendants during the relevant time period, NL Class

Plaintiffs worked in excess of 40 hours per workweek.

        168.    Defendants followed a policy and practice of failing to pay NL Class Plaintiffs

Overtime Premium Pay for all time they worked over 40 hours per workweek during time

relevant hereto, in violation of M.G.L. c. 151, § 1A.

        169.    Defendants are jointly and severally liable to NL Class Plaintiffs under M.G.L. c.

151 for their failure to pay Overtime Premium Pay to NL Class Plaintiffs in an amount equal to

such unpaid Overtime Premium Pay.

        170.    Defendants are also jointly and severally liable to NL Class Plaintiffs under

M.G.L. c. 151 for liquidated treble damages on unpaid Overtime Premium Pay, as well as

attorneys’ fees, costs, interest, and all other relief deemed just and proper.

                                          COUNT IV
            VIOLATION OF MASSACHUSETTS PAYMENT OF WAGES ACT
                                  M.G.L. c. 149, §§ 148 & 150
          (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
             and Martins-Rodrigue and Similarly-Situated NL Class Plaintiffs)
                                    (Against All Defendants)

        171.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.


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       172.    This claim is brought on behalf of the NL Class Plaintiffs, including the NL Class

Representative Plaintiffs.

       173.    This claim is brought against all Defendants.

       174.    During the relevant time period, Defendants were “employers” of NL Class

Plaintiffs within the meaning of M.G.L. c. 149.

       175.    During the relevant time period, Defendants constituted a single employer and/or

joint employers of NL Class Plaintiffs within the meaning of M.G.L. c. 149.

       176.    During the relevant time period, NL Class Plaintiffs were “employees” of

Defendants within the meaning of M.G.L. c. 149.

       177.    During time relevant hereto, Defendants employed NL Class Plaintiffs within the

meaning of M.G.L. c. 149.

       178.    Under M.G.L. c. 149, § 148, Defendants were required to pay NL Class Plaintiffs

all wages due within six or seven days after the termination of the pay period in which such

wages were earned.

       179.    Under M.G.L. c. 149, § 148, Defendants were required to pay NL Class Plaintiffs

voluntarily leaving their employment all wages due in full on the following regular pay day, or,

in the absence of a regular pay day, on the Saturday following their last day of employment.

       180.    Under M.G.L. c. 149, § 148, Defendants were required to pay NL Class Plaintiffs

discharged from employment all wages due in full on the day of their discharge.

       181.    During the relevant time period, Defendants regularly followed a policy and

practice of failing to pay NL Class Plaintiffs within six or seven days after the termination of the

pay period in which such wages were earned, in violation of M.G.L. c. 149, § 148.




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       182.    During the relevant time period, Defendants followed a policy and practice of

improperly rounding down the time NL Class Plaintiffs worked for purposes of calculating the

wages due and thus followed a policy and practice of failing to pay NL Class Plaintiffs the full

amount of their wages due, in violation of M.G.L. c. 149, § 148 and the AG regulations

promulgated thereunder.

       183.    During the relevant time period, Defendants regularly followed a policy and

practice of failing to pay NL Class Plaintiffs voluntarily leaving employment the full amount of

wages due on the next required regular pay day or on the following Saturday, in violation of

M.G.L. c. 149, § 148.

       184.    During the relevant time period, Defendants regularly followed a policy and

practice of failing to pay discharged NL Class Plaintiffs the full amount of wages due on the day

of discharge, in violation of M.G.L. c. 149, § 148.

       185.    Defendants are jointly and severally liable to NL Class Plaintiffs under M.G.L. c.

149, §§ 148 & 150 for their failure to pay NL Class Plaintiffs all wages due within the legally-

required time frames.

       186.    Defendants are jointly and severally liable to NL Class Plaintiffs under M.G.L. c.

149, §§ 148 & 150 for their failure to pay NL Class Plaintiffs all wages due for all time worked.

       187.    Defendants are also jointly and severally liable to NL Class Plaintiffs under

M.G.L. c. 149, §§ 148 & 150 for liquidated treble damages on the amounts due as a result of

Defendants’ failure to timely pay wages and failure to pay all wages due for time worked, as well

as attorneys’ fees, costs, interest, and all other relief deemed just and proper.




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                                          COUNT V
            VIOLATION OF MASSACHUSETTS EARNED SICK TIME LAW
                                 M.G.L. c. 149, §§ 148C & 150
          (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
             and Martins-Rodrigue and Similarly-Situated NL Class Plaintiffs)
                                    (Against All Defendants)

        188.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.

        189.    This claim is brought on behalf of the NL Class Plaintiffs, including the NL Class

Representative Plaintiffs.

        190.    This claim is brought against all Defendants.

        191.    During the relevant time period on or after July 1, 2015, Defendants were

“employers” of NL Class Plaintiffs within the meaning of M.G.L. c. 149, § 148C and the

regulations promulgated by the AG pursuant thereto.

        192.    During the relevant time period on or after July 1, 2015, Defendants constituted a

single employer and/or joint employers of NL Class Plaintiffs within the meaning of M.G.L. c.

149, § 148C and the regulations promulgated by the AG pursuant thereto.

        193.    During the relevant time period on or after July 1, 2015, Defendants were

“employers of eleven or more employees” within the meaning of M.G.L. c. 149, § 148C and the

regulations promulgated by the AG pursuant thereto.

        194.    During the relevant time period on or after July 1, 2015, NL Class Plaintiffs were

“employees” of Defendants within the meaning of M.G.L. c. 149, § 148C and the regulations

promulgated by the AG pursuant thereto.

        195.    During time relevant hereto on or after July 1, 2015, Defendants employed NL

Class Plaintiffs within the meaning of M.G.L. c. 149, § 148C and the regulations promulgated by


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the AG pursuant thereto.

        196.   Under M.G.L. c. 149, § 148C and the regulations promulgated by the AG

pursuant thereto, starting on July 1, 2015, Defendants were required to provide a hard or

electronic copy of a notice of the M.G.L. c. 149, § 148C prepared by the AG to NL Class

Plaintiffs or include such notice in an employee manual or handbook provided to NL Class

Plaintiffs.

        197.   During time relevant hereto on or after July 1, 2015, Defendants followed a policy

and practice of failing to either provide the NL Class Plaintiffs employed after July 1, 2015 the

required hard or electronic copy of a notice of the M.G.L. c. 149, § 148C prepared by the AG or

include such notice in an employee manual or handbook provided to NL Class Plaintiffs.

        198.   During time relevant hereto on or after July 1, 2015, Defendants followed a policy

and practice of failing to allow NL Class Plaintiffs to accrue and use earned sick time for their

work at the New Bedford Lumber Yard, in violation of M.G.L. c. 149, § 148C.

        199.   During time relevant hereto on or after July 1, 2015, Defendants followed a policy

and practice of failing to pay NL Class Plaintiffs for time off taken in accordance with the

provisions of M.G.L, c. 149, § 148C and the regulations promulgated by the AG thereunder for

which the NL Class Plaintiffs would have had earned sick time had Defendants complied with

the law, in violation of M.G.L. c. 149, § 148C.

        200.   Defendants are jointly and severally liable to NL Class Plaintiffs under M.G.L. c.

149, §§ 148C & 150 for their failure to properly notify NL Class Plaintiffs of their rights to earn

and use paid sick leave, failure to allow NL Class Plaintiffs to earn and use paid sick leave, and

failure to pay NL Class Plaintiffs for leave they took that would have qualified for paid sick

leave had Defendants complied with the law.


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          201.   Defendants are also jointly and severally liable to NL Class Plaintiffs under

M.G.L. c. 149, §§ 148C & 150 for liquidated treble damages on the amounts due as a result of

Defendants’ failure to comply with M.G.L. c. 149, §§ 148C and the regulations promulgated by

the AG thereunder, as well as attorneys’ fees, costs, interest, and all other relief deemed just and

proper.

                                          COUNT VI
                               FAILURE TO PAY OVERTIME
                  FAIR LABOR STANDARDS ACT, 29 U.S.C § 201 et seq.
           (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
           and Martins-Rodrigue and Similarly-Situated Jobsite Collective Plaintiffs)
                            (Against All Pereira-Entity Defendants)

          202.   Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.

          203.   This claim is brought on behalf of the Jobsite Collective Plaintiffs, including the

Jobsite Collective Representative Plaintiffs.

          204.   This claim is brought against all Pereira-Entity Defendants.

          205.   On information and belief, during the relevant time period, each of WCP, Rondon

Siding, Excel, either individually or acting in concert, was an enterprise engaged in commerce or

in the production of goods for commerce, as defined by 29 U.S.C. § 201 et seq.

          206.   During the relevant time period, each Jobsite Collective Plaintiff was engaged in

commerce or in the production of goods for commerce, as defined by 29 U.S.C. § 201 et seq.

          207.   During the relevant time period, the Pereira-Entity Defendants constituted a single

enterprise and/or joint employers of the Jobsite Collective Plaintiffs within the meaning of 29

U.S.C. § 201 et seq.




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       208.    During the relevant time period, each Pereira-Entity Defendant suffered or

permitted Jobsite Collective Plaintiffs to work on their behalf at jobsites primarily in

Massachusetts.

       209.    During the relevant time period, each Pereira-Entity Defendant acted directly or

indirectly in the interest of the Jobsite Collective Plaintiffs’ employer or employers under the

FLSA and were the Jobsite Collective Plaintiffs’ employer, as defined by 29 U.S.C. § 201 et seq.

       210.    Pursuant to the FLSA, 29 U.S.C. § 207(a), Pereira-Entity Defendants were

required to pay Jobsite Collective Plaintiffs Overtime Premium Pay for all time they worked over

40 hours in a workweek.

       211.    During the relevant time period, Pereira-Entity Defendants regularly followed a

policy and practice of failing to pay Jobsite Collective Plaintiffs Overtime Premium Pay.

       212.    Pereira-Entity Defendants’ failure to pay Jobsite Collective Plaintiffs Overtime

Premium Pay during the relevant time period violates the FLSA.

       213.    Pereira-Entity Defendants acted willfully or with reckless disregard as to their

obligation to pay Jobsite Collective Plaintiffs Overtime Premium Pay, and accordingly, the

violation was willful for purposes of the FLSA, 29 U.S.C. §§ 255(a) and 260.

       214.    Pereira-Entity Defendants are jointly and severally liable to Jobsite Collective

Plaintiffs under the FLSA for their failure to pay Overtime Premium Pay to Jobsite Collective

Plaintiffs in an amount equal to such unpaid Overtime Premium Pay.

       215.    Pereira-Entity Defendants are also jointly and severally liable to Jobsite

Collective Plaintiffs for liquidated damages on unpaid Overtime Premium Pay, as well as

attorneys’ fees, costs, interest, and all other relief deemed just and proper.




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                                        COUNT VII
                          FAILURE TO PAY MINIMUM WAGE
                FAIR LABOR STANDARDS ACT, 29 U.S.C § 201 et seq.
         (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
         and Martins-Rodrigue and Similarly-Situated Jobsite Collective Plaintiffs)
                          (Against All Pereira-Entity Defendants)

        216.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.

        217.    This claim is brought on behalf of the Jobsite Collective Members, including the

Jobsite Collective Representative Plaintiffs.

        218.    This claim is brought against all Pereira-Entity Defendants.

        219.    Under Massachusetts law, M.G.L. c. 148 § 149, employers are required to pay

hourly-paid workers who work five to six days a week within six days after the termination of

the pay period in which the wages were earned and to pay hourly-paid workers who work fewer

than five days a week within seven days after the termination of the pay period.

        220.    Pursuant to the FLSA, Pereira-Entity Defendants were required to pay Jobsite

Collective Plaintiffs at least the Federal Minimum Wage for all time that they worked for

Pereira-Entity Defendants each workweek.

        221.    Pereira-Entity Defendants were required to pay Jobsite Collective Plaintiffs at

least the Federal Minimum Wage for all time that they worked for Pereira-Entity Defendants in a

timely manner; the failure to do so in any week amounted to a non-payment of such wages for

that week.

        222.    During the relevant time period, Pereira-Entity Defendants regularly paid Jobsite

Collective Plaintiffs more than six or seven days after the termination of the pay period within

which they earned wages.


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        223.    During the relevant time period, on information and belief, Pereira-Entity

Defendants often paid Jobsite Collective Plaintiffs thirteen or fourteen days after the end of the

pay period within which they earned wages.

        224.    During the relevant time period, Pereira-Entity Defendants sometimes paid

Jobsite Collective Plaintiffs more than two weeks after the end of the pay period within which

they earned wages.

        225.    Pereira-Entity Defendants willfully and repeatedly violated the provisions of the

FLSA by failing to timely pay the Jobsite Collective Plaintiffs at least the Federal Minimum

Wage for all time they worked for Defendants each workweek.

        226.    Pereira-Entity Defendants are jointly and severally liable to Jobsite Collective

Plaintiffs under the FLSA for their failure to timely pay at least Federal Minimum Wage for all

time that Jobsite Collective Plaintiffs worked.

        227.    Pereira-Entity Defendants are also jointly and severally liable to Jobsite

Collective Plaintiffs for liquidated damages on the payments that Pereira-Entity Defendants

failed to pay in a timely manner, as well as attorneys’ fees, costs, interest, and all other relief

deemed just and proper.

                                         COUNT VIII
                              FAILURE TO PAY OVERTIME
                                         M.G.L. c. 151
          (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
            and Martins-Rodrigue and Similarly-Situated Jobsite Class Plaintiffs)
                           (Against All Pereira-Entity Defendants)

        228.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.




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       229.    This claim is brought on behalf of the Jobsite Class Plaintiffs, including the

Jobsite Class Representative Plaintiffs.

       230.    This claim is brought against all Pereira-Entity Defendants.

       231.    During the relevant time period, Pereira-Entity Defendants were “employers” of

Jobsite Class Plaintiffs within the meaning of M.G.L. c. 151.

       232.    During the relevant time period, Pereira-Entity Defendants constituted a single

employer and/or joint employers of Jobsite Class Plaintiffs within the meaning of M.G.L. c. 151.

       233.    During the relevant time period, Jobsite Class Plaintiffs were “employees” of

Pereira-Entity Defendants within the meaning of M.G.L. c. 151.

       234.    During time relevant hereto, Pereira-Entity Defendants employed Jobsite Class

Plaintiffs within the meaning of M.G.L. c. 151.

       235.    Under M.G.L. c. 151, § 1A, Pereira-Entity Defendants were required to pay

Jobsite Class Plaintiffs Overtime Premium Pay for all time worked over 40 hours in a workweek.

       236.    While employed by Pereira-Entity Defendants during the relevant time period,

Jobsite Class Plaintiffs worked in excess of 40 hours per workweek.

       237.    Pereira-Entity Defendants followed a policy and practice of failing to pay Jobsite

Class Plaintiffs Overtime Premium Pay for all time they worked over 40 hours per workweek

during time relevant hereto, in violation of M.G.L. c. 151, § 1A.

       238.    Pereira-Entity Defendants are jointly and severally liable to Jobsite Class

Plaintiffs under M.G.L. c. 151 for their failure to pay Overtime Premium Pay to Jobsite Class

Plaintiffs in an amount equal to such unpaid Overtime Premium Pay.




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        239.    Pereira-Entity Defendants are also jointly and severally liable to Jobsite Class

Plaintiffs under M.G.L. c. 151 for liquidated treble damages on unpaid Overtime Premium Pay,

as well as attorneys’ fees, costs, interest, and all other relief deemed just and proper.

                                         COUNT IX
            VIOLATION OF MASSACHUSETTS PAYMENT OF WAGES ACT
                                  M.G.L. c. 149, §§ 148 & 150
          (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
            and Martins-Rodrigue and Similarly-Situated Jobsite Class Plaintiffs)
                           (Against All Pereira-Entity Defendants)

        240.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.

        241.    This claim is brought on behalf of the Jobsite Class Plaintiffs, including the

Jobsite Class Representative Plaintiffs.

        242.    This claim is brought against all Pereira-Entity Defendants.

        243.    During the relevant time period, Pereira-Entity Defendants were “employers” of

Jobsite Class Plaintiffs within the meaning of M.G.L. c. 149.

        244.    During the relevant time period, Pereira-Entity Defendants constituted a single

employer and/or joint employers of Jobsite Class Plaintiffs within the meaning of M.G.L. c. 149.

        245.    During the relevant time period, Jobsite Class Plaintiffs were “employees” of

Pereira-Entity Defendants within the meaning of M.G.L. c. 149.

        246.    During time relevant hereto, Pereira-Entity Defendants employed Jobsite Class

Plaintiffs within the meaning of M.G.L. c. 149.

        247.    Under M.G.L. c. 149, § 148, Pereira-Entity Defendants were required to pay

Jobsite Class Plaintiffs all wages due within six or seven days after the termination of the pay

period in which such wages were earned.


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         248.   Under M.G.L. c. 149, § 148, Pereira-Entity Defendants were required to pay

Jobsite Class Plaintiffs voluntarily leaving their employment all wages due in full on the

following regular pay day, or, in the absence of a regular pay day, on the Saturday following his

last day of employment.

         249.   Under M.G.L. c. 149, § 148, Pereira-Entity Defendants were required to pay

Jobsite Class Plaintiffs discharged from employment all wages due in full on the day of their

discharge.

         250.   During the relevant time period, Pereira-Entity Defendants regularly followed a

policy and practice of failing to pay Jobsite Class Plaintiffs within six or seven days after the

termination of the pay period in which such wages were earned, in violation of M.G.L. c. 149,

§ 148.

         251.   During the relevant time period, Pereira-Entity Defendants followed a policy and

practice of improperly rounded down the time Jobsite Class Plaintiffs worked for purposes of

calculating the wages due and thus followed a policy and practice of failing to pay Jobsite Class

Plaintiffs the full amount of their wages due, in violation of M.G.L. c. 149, § 148 and the

regulations promulgated by the AG thereunder.

         252.   During the relevant time period, Pereira-Entity Defendants regularly followed a

policy and practice of failing to pay Jobsite Class Plaintiffs voluntarily leaving employment the

full amount of wages due on the next required regular pay day or on the following Saturday, in

violation of M.G.L. c. 149, § 148.

         253.   During the relevant time period, Pereira-Entity Defendants regularly followed a

policy and practice of failing to pay terminated Jobsite Class Plaintiffs the full amount of wages

due on the day of termination, in violation of M.G.L. c. 149, § 148.


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        254.    Pereira-Entity Defendants are jointly and severally liable to Jobsite Class

Plaintiffs under M.G.L. c. 149, §§ 148 & 150 for their failure to pay Jobsite Class Plaintiffs all

wages due within the legally-required time frames.

        255.    Pereira-Entity Defendants are jointly and severally liable to Jobsite Class

Plaintiffs under M.G.L. c. 149, §§ 148 & 150 for their failure to pay Jobsite Class Plaintiffs all

wages due for all time worked.

        256.    Pereira-Entity Defendants are also jointly and severally liable to Jobsite Class

Plaintiffs under M.G.L. c. 149, §§ 148 & 150 for liquidated treble damages on the amounts due

as a result of Pereira-Entity Defendants failure to timely pay wages and failure to pay all wages

due for time worked, as well as attorneys’ fees, costs, interest, and all other relief deemed just

and proper.

                                          COUNT X
             VIOLATION OF MASSACHUSETTS EARNED SICK TIME LAW
                                 M.G.L. c. 149, §§ 148C & 150
          (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
            and Martins-Rodrigue and Similarly-Situated Jobsite Class Plaintiffs)
                           (Against All Pereira-Entity Defendants)

        257.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.

        258.    This claim is brought on behalf of the Jobsite Class Plaintiffs, including the

Jobsite Class Representative Plaintiffs.

        259.    This claim is brought against all Pereira-Entity Defendants.

        260.    During the relevant time period on or after July 1, 2015, Pereira-Entity

Defendants were “employers” of Jobsite Class Plaintiffs within the meaning of M.G.L. c. 149, §

148C and the regulations promulgated by the AG pursuant thereto.


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        261.    During the relevant time period on or after July 1, 2015, Pereira-Entity

Defendants constituted a single employer and/or joint employers of Jobsite Class Plaintiffs

within the meaning of M.G.L. c. 149, § 148C and the regulations promulgated by the AG

pursuant thereto.

        262.    During the relevant time period on or after July 1, 2015, Pereira-Entity

Defendants were “employers of eleven or more employees” within the meaning of M.G.L. c.

149, § 148C and the regulations promulgated by the AG pursuant thereto.

        263.    During the relevant time period on or after July 1, 2015, Jobsite Class Plaintiffs

employed after July 1, 2015, were “employees” of Pereira-Entity Defendants within the meaning

of M.G.L. c. 149, § 148C and the regulations promulgated by the AG pursuant thereto.

        264.    During time relevant hereto on or after July 1, 2015, Pereira-Entity Defendants

employed Jobsite Class Plaintiffs within the meaning of M.G.L. c. 149, § 148C and the

regulations promulgated by the AG pursuant thereto.

        265.    Under M.G.L. c. 149, § 148C and the regulations promulgated by the AG

pursuant thereto, starting on July 1, 2015, Pereira-Entity Defendants were required to provide a

hard or electronic copy of a notice of the M.G.L. c. 149, § 148C prepared by the AG to Jobsite

Class Plaintiffs or include such notice in an employee manual or handbook provided to Jobsite

Class Plaintiffs.

        266.    During time relevant hereto on or after July 1, 2015, Pereira-Entity Defendants

followed a policy and practice of failing to either provide the Jobsite Class Plaintiffs employed

after July 1, 2015, the required hard or electronic copy of a notice of the M.G.L. c. 149, § 148C

prepared by the AG or include such notice in an employee manual or handbook provided to

Jobsite Class Plaintiffs.


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        267.    During time relevant hereto on or after July 1, 2015, Pereira-Entity Defendants

followed a policy and practice of failing to allow Jobsite Class Plaintiffs to accrue and use earned

sick time for their work for Pereira-Entity Defendants, in violation of M.G.L. c. 149, § 148C.

        268.    During time relevant hereto on or after July 1, 2015, Pereira-Entity Defendants

followed a policy and practice of failing to pay Jobsite Class Plaintiffs for time off taken in

accordance with the provisions of M.G.L, c. 149, § 148C and the regulations promulgated by the

AG thereunder for which Jobsite Class Plaintiffs would have had earned sick time had Pereira-

Entity Defendants complied with the law, in violation of M.G.L. c. 149, § 148C.

        269.    Pereira-Entity Defendants are jointly and severally liable to Jobsite Class

Plaintiffs under M.G.L. c. 149, §§ 148C & 150 for their failure to properly notify Jobsite Class

Plaintiffs of their rights to earn and use paid sick leave, failure to allow Jobsite Class Plaintiffs to

earn and use paid sick leave, and failure to pay Jobsite Class Plaintiffs for leave they took that

would have qualified for paid sick leave had Pereira-Entity Defendants complied with the law.

        270.    Pereira-Entity Defendants are also jointly and severally liable to Jobsite Class

Plaintiffs under M.G.L. c. 149, §§ 148C & 150 for liquidated treble damages on the amounts due

as a result of Pereira-Entity Defendants’ failure to comply with M.G.L. c. 149, §§ 148C and the

regulations promulgated by the AG thereunder, as well as attorneys’ fees, costs, interest, and all

other relief deemed just and proper.




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                                    COUNT XI
         VIOLATION OF MASSACHUSETTS PAYMENT OF WAGES ACT AND
                       FAILURE TO PAY OVERTIME
                    M.G.L. c. 149, §§ 148 & 150; M.G.L. c. 151
                         (On Behalf of Plaintiff Pinto)
                            (Against All Defendants)

        271.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.

        272.    This claim is brought on behalf of Plaintiff Pinto.

        273.    This claim is brought against all Defendants.

        274.    Under M.G.L. c. 149, § 148, Defendants were required to pay Pinto all wages due

within six days after the termination of the pay period in which such wages were earned.

        275.    Under M.G.L. c. 151, Defendants were required to pay Pinto Overtime Premium

Pay for all time he worked over 40 hours in a workweek.

        276.    During the relevant time period, Pinto regularly spent three hours a week or more

driving to Weder and Cristina Pereira’s home to pick up paychecks for the NL Plaintiffs and

drive back to the New Bedford Lumber Yard to deliver such paychecks.

        277.    During the relevant time period, some or all of the three or more additional hours

a week Pinto worked by driving in order to deliver the NL Plaintiffs’ paychecks often were

overtime hours.

        278.    During the relevant time period, Defendants failed to pay Pinto wages for the time

he spent driving in order to deliver the NL Plaintiffs’ paychecks.

        279.    During the relevant time period, Defendants failed to pay Pinto Overtime

Premium Pay for the portion of the three or more additional hours that were overtime hours.




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        280.    Defendants are jointly and severally liable to Pinto under M.G.L. c. 149, §§ 148

& 150 for their failure to pay him all wages due for all time worked.

        281.    Defendants are jointly and severally liable to Pinto under M.G.L. c. 151 for their

failure to pay him Overtime Premium Pay for all time he worked over 40 hours in a workweek.

        282.    Defendants are also jointly and severally liable to Pinto under M.G.L. c. 149, §§

148 & 150 and M.G.L. c. 151 for liquidated treble damages on the amounts due as a result of

Defendants’ failure to pay all wages due for time worked and all Overtime Premium Pay, as well

as attorneys’ fees, costs, interest, and all other relief deemed just and proper.

                                          COUNT XII
                                     FLSA RETALIATION
                                      29 U.S.C. § 215(a)(3)
          (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
            and Martins-Rodrigue and Similarly-Situated NL Collective Plaintiffs)
                                    (Against All Defendants)

        283.    Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.

        284.    Soon after the AG Meeting, National Lumber began terminating NL Collective

Plaintiffs that were working at the New Bedford Lumber Yard.

        285.    Within a short time after the AG Meeting, National Lumber had terminated all NL

Collective Plaintiffs.

        286.    On information and belief, National Lumber continued to hire and employ other

employees to replace NL Collective Plaintiffs to construct wall panels after it terminated all NL

Collective Plaintiffs.

        287.    NL Collective Plaintiffs terminated after the AG Meeting were performing their

work adequately at the time of their terminations.



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       288.    The terminations were temporally proximate to the investigation triggered by the

filing of the AG Complaint, complaining, inter alia, about Defendants’ illegal failure to pay NL

Collective Plaintiffs Overtime Premium Pay as required by the FLSA.

       289.    The Defendants’ terminations of NL Collective Plaintiffs after the AG Meeting

were caused by and in retaliation for the filing of the AG Complaint complaining about

Defendants’ illegal failure to pay NL Collective Plaintiffs Overtime Premium Pay as required by

the FLSA.

       290.    Defendants acted willfully or with reckless disregard as to their obligation to not

retaliate against NL Collective Plaintiffs working at the New Bedford Lumber Yard at the time

of the AG Meeting by terminating such NL Collective Plaintiffs; the violation was willful for

purposes of the FLSA, 29 U.S.C. §§ 255(a) and 260.

       291.    Defendants are jointly and severally liable under the FLSA to NL Collective

Plaintiffs terminated after the AG Meeting in retaliation for the AG Complaint complaining

about, inter alia, Defendants’ failure to pay Overtime Premium Pay as required by the FLSA.

       292.    Defendants are also jointly and severally liable to such NL Collective Plaintiffs

for liquidated damages on amounts due as a result of their illegal termination of NL Collective

Plaintiffs in retaliation for the filing of the AG Complaint, as well as attorneys’ fees, costs,

interest, and all other relief deemed just and proper.




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                                         COUNT XIII
                        RETALIATION FOR WAGE COMPLAINT
                                M.G.L. c. 149, §§ 148A & 150
                                      M.G.L. c. 151, § 19
         (On Behalf of Plaintiffs Rodrigues, Pinto, Dasilva, Sousa, Pereira-Martins,
             and Martins-Rodrigue and Similarly-Situated NL Class Plaintiffs)
                                   (Against All Defendants)
        293. Plaintiffs repeat and incorporate by reference all allegations above and below as if

fully set forth here.

        294.    Soon after the AG Meeting, National Lumber began terminating NL Class

Plaintiffs that were working at the New Bedford Lumber Yard.

        295.    Within a short time after the AG Meeting, National Lumber had terminated all NL

Class Plaintiffs.

        296.    On information and belief, National Lumber continued to hire and employ other

employees to replace NL Class Plaintiffs to construct wall panels after it terminated all NL Class

Plaintiffs.

        297.    NL Class Plaintiffs terminated after the AG Meeting were performing their work

adequately at the time of their terminations.

        298.    The terminations were temporally proximate to the investigation triggered by the

filing of the AG Complaint, complaining about, inter alia, Defendants’ illegal nonpayment of

wages and nonpayment of Overtime Premium Pay to NL Class Plaintiffs in violation of M.G.L.

c. 149, §§ 148 and M.G.L. c. 151, § 1A.

        299.    The Defendants’ terminations of NL Class Plaintiffs after the AG Meeting were

caused by and in retaliation for the filing of the AG Complaint complaining about, inter alia,

Defendants’ illegal nonpayment of wages and nonpayment of Overtime Premium Pay to NL

Class Plaintiffs, in violation of M.G.L. c. 149, §§ 148A and M.G.L. c. 151, § 19.


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       300.    Defendants are jointly and severally liable under M.G.L. c. 149, §§ 148A and

M.G.L. c. 151, § 19 to NL Class Plaintiffs terminated after the AG Meeting in retaliation for the

filing of the AG Complaint.

       301.    Defendants are also jointly and severally liable to such NL Class Plaintiffs for

liquidated treble damages on amounts due as a result of their illegal termination of such NL

Class Plaintiffs in retaliation for the filing of the AG Complaint, as well as attorneys’ fees, costs,

interest, and all other relief deemed just and proper.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs Benvindo Rodrigues, Andre Pinto, Marcos Dasilva, Givanildo

Sousa, Olavo Pereira-Martins, and Danielson Martins-Rodrigue individually and on behalf of

similarly-situated employees, respectfully request as follows:

               A.      That Defendants be summoned to appear and answer this Complaint;

               B.      For an order of this Honorable Court entering judgment in their favor

       against Defendants, jointly and severally, in their actual economic damages in an amount

       to be determined at trial;

               C.      For liquidated double and treble damages;

               E.      For their attorneys’ fees, costs, and pre-and post-judgment interest; and

               F.      For such other and further relief, including, but not limited to,

       injunctive relief, compensatory damages, and punitive damages, as this Court

       deems necessary, just and proper.




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                                                   Respectfully submitted,
                                                   PLAINTIFFS,
                                                   BENVINDO RORIGUES, ANDRE PINTO,
                                                   MARCOS DASILVA, GIVANILDO
                                                   SOUSA, OLAVO PEREIRA-MARTINS,
                                                   and DANIELSON MARTINS-RODRIGUE,
                                                   By Their Attorney,


                                                   /s/ Chip Muller
                                                   Chip Muller, Esq. (BBO #672100)
                                                   Muller Law, LLC
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                                                   Barrington, RI 02806
                                                   (401) 256-5171 (ph.)
                                                   (401) 256-5025 (fax)
                                                   chip@mullerlaw.com




         Plaintiffs Benvindo Rodrigues, Andre Pinto, Marcos Dasilva, Givanildo Sousa, Olavo
Pereira-Martins, and Danielson Martins-Rodrigue, individually and on behalf of all similarly-
situated employees, by and through their attorney, demand a TRIAL BY JURY on all counts so
triable.




                                                   /s/ Chip Muller            ____
                                                   Chip Muller, Esq. (BBO #672100)




Dated: March 5, 2019




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